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                               UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA
10
                                          SOUTHERN DIVISION
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12
     ROSALINDA FERNANDEZ,                                )   Case No. 8:10-cv-01787-AG (RZx)
                                                         )
13                       Plaintiff,                      )   ORDER GRANTING JOINT
                                                         )   STIPULATION AND MOTION TO
14
           vs.                                           )   DISMISS ENTIRE ACTION WITH
15                                                       )   PREJUDICE
     NCO FINANCIAL SYSTEMS, INC.                         )
16
                                                         )
17                       Defendant.                      )
                                                         )
18

19         Based on the Joint Stipulation and Motion to Dismiss Entire Action, with
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     Prejudice filed in this action, the above-captioned action is hereby dismissed with
21
     prejudice.
22

23   IT IS SO ORDERED.
24

25   Dated: August 4, 2011
                                                                ________________________________
26
                                                                HON. ANDREW J. GUILFORD
27                                                              UNITED STATES DISTRICT JUDGE
28



                    [Proposed] Order Granting Joint Request and Motion for Dismissal with Prejudice
                                                          1
